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                                                       June 16, 2020

 VIA ECF

 Hon. Joan M. Azrack, U.S.D.J.
 United States District Court
 Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

 RE:    Adkins v. Garda CL Atlantic, Inc., 16-cv-00641

 Dear Judge Azrack:

          I represent certain plaintiffs in the above captioned matter. I write in opposition to the
 Defendant’s motion for jurisdictional discovery. Defendant proposes a briefing schedule that
 results in a fully briefed motion in late October 2020 (assuming everything goes according to
 plan). Under this schedule, if there are any unanticipated delays, we could a fully briefed motion
 might not be submitted until 2021.

         There is no need to multiply these proceedings. As was mentioned in Plaintiff’s motion
 to approve the proposed briefing schedule (ECF No. 107), Plaintiff will submit to the Court
 objective indicators showing that Mr. Rossi was a domiciliary of Florida at the time the
 complaint was filed in State Court. Garda has not explained why jurisdictional discovery is
 necessary. However, should the Court find that jurisdictional discovery is necessary, Plaintiff
 proposes the following alternative schedule:

        June 22, 2020            Parties to serve a maximum of five document requests and five
                                 interrogatories regarding jurisdiction, and Plaintiff’s to serve
                                 30(b)(6) subject matter list regarding deposition of Garda

        July 6, 2020             Parties to respond to document requests and interrogatories

        July 24, 2020            Deadline for completion of depositions of Garda and Mr. Rossi

        August 7, 2020           Plaintiffs to serve motion to vacate and remand/dismiss

        September 7, 2020        Defendant to serve opposition

        September 21, 2020 Plaintiff to serve reply and file all papers via ECF




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         In October I have an out of state trial. Therefore, the advanced schedule proposed will
 avoid the need for further delays.

         There are several reasons why discovery should be reciprocal if Garda insists on pursuing
 this wasteful and unnecessary course. First is basic fairness. Second, Garda relocated Mr. Rossi
 to Florida and offered him employment in West Palm Beach. Third, Garda has knowledge of
 whether the Florida employment was of indefinite duration or for a specific time period.

          Garda asserts that Mr. Rossi could have changed his domicile from Florida to another
 state after his employment with Garda ended. However, as pointed out by Garda in its letter to
 the Court (ECF No. 108), “[a] party alleging that there has been a change of domicile has the
 burden of proving the ‘require[d] . . . intent to give up the old and take up the new [domicile],
 coupled with an actual acquisition of a residence in the new locality,’ and must prove those facts
 ‘by clear and convincing evidence.’” Palazzo ex rel. Delmage v. Corio, 232 F.3d 38, 42 (2d Cir.
 2000). Therefore, whether Garda is in possession of information concerning Garda’s
 employment of Mr. Rossi in Florida, and whether the employment was of indefinite duration, are
 highly relevant.

         For the foregoing reasons, Plaintiffs oppose Garda’s proposed briefing schedule and
 request for jurisdictional discovery. If the Court is inclined to grant jurisdictional discovery,
 Plaintiff requests that the discovery be reciprocal, and that the alternative schedule proposed
 herein be adopted by the Court.

                                                        Respectfully submitted,


                                                        /s/

                                                        Steven J. Moser




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